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 1   Bruce Locke (#177787)
 2   Moss & Locke
 3   4359 Town Center Blvd., #114-59
 4   Eldorado Hills, CA 95762
 5   916-719-3194
 6   Attorneys for Jeffrey Grady
 7

 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES,                            No. 2:15-CR-204 TLN
12                   Plaintiff,
13         v.                                  STIPULATION AND ORDER
                                               CONTINUING THE STATUS
14   JEFFREY GRADY,                            CONFERENCE SET FOR
                                               DECEMBER 14, 2017 TO
15                   Defendants.               JANJUARY 18, 2018 AT 9:30 A.M.
16

17
            IT IS HEREBY STIPULATED AND AGREED between the defendant,
18
     Jeffrey Grady, by and through his undersigned defense counsel, and the United
19
     States of America, by and through its counsel, Assistant U.S. Attorney Matthew
20
     Morris, that the status conference presently set for December 14, 2017 should be
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     continued to January 18, 2018 at 9:30 a.m., and that time under the Speedy Trial
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     Act should be excluded from December 14, 2017 through January 18, 2018.
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           The reason for the continuance is that defense counsel has only recently
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     received a full set of the discovery and he needs additional time to review the
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     discovery and to conduct investigation.
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           Additionally, the continuance is necessary to ensure continuity of counsel.
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     Accordingly, the time between December 14, 2017 and January 18, 2018 should be
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                                               1
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 1   excluded from the Speedy Trial calculation pursuant to Title 18, States Code,
 2   Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties
 3   stipulate that the ends of justice served by granting this continuance outweigh the
 4   best interests of the public and the defendants in a speedy trial. 18 U.S.C.
 5   §3161(h)(7)(A). Mr. Morris has authorized Mr. Locke to sign this pleading for him.
 6   DATED: December 11, 2017                /s/ Bruce Locke
                                             BRUCE LOCKE
 7                                           Attorney for Jeffrey Grady
 8

 9   DATED: December 11, 2017                /s/ Bruce Locke
                                             For MATTHEW MORRIS
10                                           Attorney for the United States
11

12
           The Court finds, for the reasons stated above, that the ends of justice served
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     by granting this continuance outweigh the best interests of the public and the
14
     defendants in a speedy trial, and, that the time between December 14, 2017 and
15
     January 18, 2018 should be excluded from the Speedy Trial calculation pursuant to
16
     Title 18, States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense
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     preparation, and therefore.
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           IT IS SO ORDERED.
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     DATED: December 11, 2017
20                                                    Troy L. Nunley
                                                      United States District Judge
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